      Case: 1:18-cv-02194-PAG Doc #: 30 Filed: 04/04/19 1 of 2. PageID #: 175



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO


 KIMBERLY POOLE,
 Individually and On Behalf of All Others
 Similarly Situated,

        Plaintiff,                                  Case No. 1:18-cv-2194-PAG

                                                    JUDGE PATRICIA A. GAUGHAN

 v.

 PROGRESSIVE CASUALTY
 INSURANCE COMPANY,

        Defendant.




                                 NOTICE OF SETTLEMENT

       Plaintiff KIMBERLY POOLE notifies the Court that this case has settled on an individual

basis. The parties will memorialize the terms of the settlement in a timely fashion and a notice of

dismissal with prejudice will be filed upon execution of a formal settlement agreement.



Dated: April 4, 2019                  By:    s/Rachel Soffin
                                             Gregory F. Coleman (pro hac vice)
                                             Mark E. Silvey (pro hac vice)
                                             Rachel Soffin (pro hac vice)
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     Case: 1:18-cv-02194-PAG Doc #: 30 Filed: 04/04/19 2 of 2. PageID #: 176




                               CERTIFICATE OF SERVICE

       I hereby certify that on April 4, 2019, I electronically filed the foregoing document using

the CM/ECF system which will send notification of such filing to the e-mail addresses registered

in the CM/ECF system, as denoted on the Electronic Mail Notice List.


                                            s/Rachel Soffin
                                            Rachel Soffin




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